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      VANTAGE TRAVEL SERVICE, INC.
  7   and INSPERITY PEO SERVICES, L.P.
      (Erroneously Sued as INSPERITY, INC.)
  8
  9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
12    LAUREN GOLDENBERG,                           Case No: _____________________
13                        Plaintiff,               [Removed from State Court,
                                                   Case No. 21STCV05726]
14           v.
15    VANTAGE TRAVEL SERVICE, INC.;                DEFENDANTS VANTAGE
      INSPERITY, INC.; and DOES 1-100,             TRAVEL SERVICE, INC. AND
16                                                 INSPERITY PEO SERVICES,
                          Defendants.              L.P.’S CORPORATE
17                                                 DISCLOSURE STATEMENT
18
                                                   Complaint Filed: February 16, 2021
19                                                 Trial Date: Not Set
20
21
22    TO PLAINTIFF, HER COUNSEL OF RECORD AND TO THE CLERK OF
23    THE COURT FOR THE UNITED STATES DISTRICT COURT FOR THE
24    CENTRAL DISTRICT OF CALIFORNIA:
25           Defendants VANTAGE TRAVEL SERVICE, INC. and INSPERITY PEO
26    SERVICES, L.P., erroneously sued as INSPERITY, INC. (collectively
27    “Defendants”), by and through their undersigned counsel of record, and pursuant
28    ///
                                             1
            DEFENDANTS VANTAGE TRAVEL SERVICE, INC. AND INSPERITY PEO SERVICES, L.P.’S
                             CORPORATE DISCLOSURE STATEMENT
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  1   to Federal Rule of Civil Procedure Rule 7.1., respectfully submit the following
  2   corporate disclosure statement:
  3         1.     Defendant VANTAGE TRAVEL SERVICE, INC. does not have any
  4   parent corporation, nor does a publicly held corporation own more than 10% or
  5   more of its stock;
  6         2.     Administaff Companies, Inc. has a partnership interest in INSPERITY
  7   PEO SERVICES, L.P.;
  8         3.     Administaff Partnerships Holding III, Inc. has a partnership interest in
  9   INSPERITY PEO SERVICES, L.P.;
10          4.     Administaff Companies, Inc. is the parent and 100% owner of
11    Administaff Partnerships Holding III, Inc.;
12          5.     Insperity Holdings, Inc. is the parent and 100% owner of Administaff
13    Companies, Inc.; and
14          6.     Insperity, Inc. is publicly-traded and is the 100% owner of Insperity
15    Holdings, Inc.
16
17    Dated: March 26, 2021                   Respectfully submitted,
18                                            FISHER & PHILLIPS LLP
19
20                                      By:   /s/ Drew M. Tate
                                              Mark J. Jacobs
21                                            Drew M. Tate
22
                                              Attorneys for Defendants
23                                            VANTAGE TRAVEL SERVICE, INC.
                                              and INSPERITY PEO SERVICES, L.P.
24                                            (Erroneously Sued as INSPERITY, INC.)
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                                            2
           DEFENDANTS VANTAGE TRAVEL SERVICE, INC. AND INSPERITY PEO SERVICES, L.P.’S
                            CORPORATE DISCLOSURE STATEMENT
